           Case 2:22-cv-00198-wks Document 52 Filed 10/24/23 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF VERMONT


 ARTHUR PROVENCHER, MICHAEL
 MCGUIRE, and RONALD MARTEL,
 individually and on behalf of all similarly
 situated individuals,

                         Plaintiffs,
 and

 JULIE A. SU, Acting Secretary of Labor,                Civil Action No. 2:22-cv-00198-wks
 United States Department of Labor,

                         Intervenor,

               v.

 BIMBO BAKERIES USA, INC. and BIMBO
 FOODS BAKERIES DISTRIBUTION LLC,

                         Defendants.


    THE ACTING SECRETARY’S NOTICE OF SUPPLEMENTAL AUTHORITY
  IN SUPPORT OF HER MOTION TO DISMISS DEFENDANTS’ COUNTERCLAIM

       Intervenor Julie A. Su, Acting Secretary of Labor, United States Department of Labor

(the “Acting Secretary”) respectfully submits this notice that a recently issued opinion, Campbell

v. Marshall Int’l, LLC, No. 20 C 5321, 2023 WL 6795700 (N.D. Ill. Oct. 13, 2023), provides

additional support for the Acting Secretary’s Motion to Dismiss Defendants’ Counterclaim (ECF

No. 44).

       In Campbell, the district court dismissed the putative employers’ counterclaims for

breach of contract and specific performance where the plaintiff alleged that she had been

misclassified as an independent contractor and brought claims under the Fair Labor Standards

Act and Illinois state wage laws. See id. at *1, 4. In dismissing the counterclaims, the court
          Case 2:22-cv-00198-wks Document 52 Filed 10/24/23 Page 2 of 3




observed that “[e]xposing workers to countersuits simply for challenging their employment

status would amount to an abridgement of rights conferred by the FLSA, and would

unreasonably chill such challenges.” Id. at *2. Moreover, the court determined that it “need not

conduct a separate analysis on whether defendants’ claims are also impermissible under the”

Illinois state wage laws. Id. at *2 n.1 Because the putative employers’ counterclaims “would

contravene FLSA rights, defendants cannot maintain their claims based on these [state law]

provisions at all.” Id. Finally, the court made clear that if the workers “are found to be

employees, then their right to wages is governed by statute and case law,” not by any agreements

between the parties. Id. at *2.

       The Campbell decision is relevant to the issues discussed at pages 12–16 of the

Memorandum in Support of the Acting Secretary of Labor’s Motion to Dismiss Defendants’

Counterclaim (ECF No. 44-1) and at pages 4–9 of the Reply in Support of Acting Secretary of

Labor’s Motion to Dismiss (ECF No. 51).

Respectfully submitted,

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          Case 2:22-cv-00198-wks Document 52 Filed 10/24/23 Page 3 of 3




                                  CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the CM/ECF system on October 24,
2023, shall be sent electronically to all registered participants as identified on the Notice of
Electronic Filing.


                                                      /s/ Emily V. Wilkinson
                                                      Emily V. Wilkinson
